                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


Sherri L. Coultrup,

                                           Plaintiff,

                          vs.                                DOCKET NO. 5:09-CV-273-D

The Methodist University, Inc. & Jeffrey A.
Zimmerman,

                                      Defendants.


            JOINT MOTION FOR ENTRY OF JOINT PROTECTIVE ORDER

       Now Come the parties, through counsel, and jointly move that the Court enter the

attached Joint Protective Order. In support of this Motion, the parties show the following:

       1.      The documents and other materials requested, or expected to be requested, in this

case include confidential information of a business and individuals.

       2.      The entry of a Joint Protective Order will expedite the flow of discovery

materials, facilitate the prompt resolution of discovery disputes and disputes concerning

confidentiality, protect certain materials designated as confidential, and ensure that protection is

afforded only to material so designated.

       WHEREFORE, the parties jointly request the Court enter the Joint Protective Order that

is attached to this Motion.




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       Respectfully submitted, this the 2nd day of December 2009.

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                                 CERTIFICATE OF SERVICE

         I hereby certify that today, I electronically filed the foregoing Joint Motion for Entry of
Joint Protective Order with the Clerk of Court for the United States District Court for the
Eastern District of North Carolina by using the CM/ECF system. I certify that all participants in
the case are registered CM/ECF users and that service will be accomplished by the CM/ECF
system.

         This the 2nd day of December 2009.



                                                      POYNER SPRUILL LLP



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